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16              FOR THE SOUTHERN DISTRICT OF CALIFORNIA
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17
18 AL OTRO LADO, Inc., et al.,               Case No. 3:17-cv-02366-BAS-KSC
19                           Plaintiffs,     DEFENDANTS’ EXHIBIT 66
20
                       v.                    [Redacted Public Version]
21
22 Chad F. WOLF, Acting Secretary of
   Homeland Security, in his official
23
   capacity, et al.,
24
25                         Defendants.
26
27
28
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